         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
                          1:17 mj 136

UNITED STATES OF AMERICA,           )
                                    )
     v.                             )                       ORDER
                                    )
IGNACIO LUNA CRUZ,                  )
                                    )
               Defendant.           )
____________________________________)

      Pending before the Court is the Government’s Motion to Unseal this Case [#

11]. The Court GRANTS the motion [# 11] and orders that this case be unsealed.



                                Signed: November 7, 2017




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